Case: 4:05-cr-00085-HEA   Doc. #: 271 Filed: 04/13/06   Page: 1 of 7 PageID #:
                                     791
Case: 4:05-cr-00085-HEA   Doc. #: 271 Filed: 04/13/06   Page: 2 of 7 PageID #:
                                     792
Case: 4:05-cr-00085-HEA   Doc. #: 271 Filed: 04/13/06   Page: 3 of 7 PageID #:
                                     793
Case: 4:05-cr-00085-HEA   Doc. #: 271 Filed: 04/13/06   Page: 4 of 7 PageID #:
                                     794
Case: 4:05-cr-00085-HEA   Doc. #: 271 Filed: 04/13/06   Page: 5 of 7 PageID #:
                                     795
Case: 4:05-cr-00085-HEA   Doc. #: 271 Filed: 04/13/06   Page: 6 of 7 PageID #:
                                     796
Case: 4:05-cr-00085-HEA   Doc. #: 271 Filed: 04/13/06   Page: 7 of 7 PageID #:
                                     797
